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Subject Seafood Program: Calculation of Boat Captain Income on Claims by Owner/Operators
. . MAI Claims Regardless of Active Date

Active Date 2/8/13 Policy Impact OA! Claims Greater than Active Date

Type of Decision , | Clarified by Seafood Neutral

Settlement Agreement Reference “| -Exhibit 10

Affected Claim Types and/or Review Processes Seafood

Under Exhibit 10, Class Members who owned or leased and captained their own vessel during the qualifying time period have both (1) a
Vessel Owner and (2) a Boat Captain claim in the Seafood Compensation Program. The Historical Revenue Compensation Methad,
which is available for all of the Seafood species types, uses revenues in past Benchmark Years to calculate an award amount that
differs by operator type. When a claimant who is both Boat Captain and Vessel Owner/Lessee has submitted a Schedule C to support
ihe Boat Captain claim, the Claims Administrator will use the gross revenues in Line 1 of the Schedule C as the revenues in past
Benchmark Years and then will apply the Exhibit 10 Cost Percentage, the Loss Percentage and the Boat Captain share set by Exhibit
10 to derive the number multiplied by the RTP to get the award amount for the claimant on the Boat Captain claim. The Claims
Administrator will not use Schedule C Line 29 net profits number (or the net profits number shown on any line in other tax forms) on the
Boat Captain claim of a claimant who is both Boat Captain and Vessel Owner/Lessee, for doing so would eliminate the premise for an
award to that claimant on a Vessel Owner/Lessee claim. The Seafood Neutral has informed the Claims Administrator that he agrees

with this policy.

